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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                             §
PEMEX EXPLORATIÓN Y                          §
PRODUCCIÓN,                                  §
                                             §       Consolidated Cases:
         Plaintiff,                          §
                                             §       No. 4:10-CV-01997
v.                                           §       No. 4:11-CV-02019
                                             §
BASF CORPORATION, ET AL.,                    §
                                             §       Hon. Sim Lake
         Defendants.                         §


        ORDER ON SAINT JAMES OIL, INC.’S AMENDED MOTION TO DISMISS

         On this day came to be heard Defendant Saint James Oil, Inc.’s (“St. James’s”) Amended

Motion to Dismiss Pursuant to Rule 12(b)(2) (the “Motion”). After considering the Motion, the

Court finds that it is meritorious and should be GRANTED.

         Accordingly, it is hereby ORDERED that St. James is hereby dismissed from this action

with prejudice.


         Dated this ______ day of __________________, 201_____.




                                            _____________________________________
                                            Hon. Sim Lake




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